                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:08cr134

UNITED STATES OF AMERICA                                    )
                                                            )
               vs.                                          )               ORDER
                                                            )
MANUEL DE JESUS AYALA, et al.                               )
                                                            )

       THIS MATTER is before the Court on the government’s motion to set a pretrial motions

deadline. (Doc. No. 306). None of the defendants have objected to the motion.

       The Court finds good cause to set a pretrial motions deadline in advance of the status

conference scheduled for March 16, 2008. Fed. R. Crim. P. 12(c).

       IT IS, THEREFORE, ORDERED that the government’s motion is GRANTED, and

the parties shall file any pretrial motion on or before March 1, 2008. The response to any motion

shall be filed on or before March 10, 2008.


                                                Signed: November 3, 2008




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